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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY

                                                    Civil Action No.
  ARMSTRONG, et al.,
                                                    2:12-CV-3319-SDW-SCM
                  Plaintiffs,
                                                    ORDER
  v.
                                                    D.E. 78
  ANDOVER SUBACUTE AND REHAB
  CENTER SERVICES ONE, INC. et al.,

                  Defendants.

        For the reasons set forth today on the record,


        IT IS on this Friday, June 21, 2019,


ORDERED, that informal discovery motions brought to the Court by joint dispute letter, D.E.

78 are DENIED as moot.




                                                         6/21/2019 7:56:37 PM


Original: Clerk of the Court
Hon. Susan D. Wigenton, U.S.D.J.
cc: All parties
    File
